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                       UNITED STATE DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

TRUSTEES of the REFRIGERATION, AIR
CONDITIONING & SERVICE DIVISION
(UA-NJ) PENSION FUND, WELFARE             Civil Action No.:
FUND, ANNUITY FUND and EDUCATION
FUND; for and on behalf of themselves and
said funds; REFRIGERATION, AIR
CONDITIONING & SERVICE DIVISION
(UA-NJ) PENSION FUND, WELFARE                       COMPLAINT
FUND, ANNUITY FUND; and the NEW
JERSEY COMMITTEE REPRESENTING
THE UNITED ASSOCIATION OF
PLUMBERS and PIPEFITTERS of the
UNITED STATES and CANADA, an
unincorporated labor organization,

                                    Plaintiffs,
v.

MARLEE CONTRACTORS, LLC,
                       Defendant.

      Plaintiffs, by and through undersigned counsel, state as follows:

                           JURISDICTION AND VENUE

      1.     This action is brought pursuant to Section 502 and 515 of the Employee
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Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §1132 and §1145

respectively, and Section 301 of the Labor Management Relations Act (“LMRA”),

29 U.S.C. §185, and the common law of ERISA.

      2.     The jurisdiction of this Court is invoked pursuant to Section 502 and

515 of ERISA, 29 U.S.C. §1132 and §1145 respectively, and Section 301 of the

LMRA, 29 U.S.C. §185, and the common law of ERISA.

      3.     This Court is one of proper venue pursuant to Section 502(e)(2) of

ERISA, 29 U.S.C. §1132(e)(2) because the Plan is administered, and the breach

took place, in the District of New Jersey.

      4.     A copy of this Complaint is being served on the Secretary of Labor and

the Secretary of Treasury of the United States by certified mail in accordance with 29

U.S.C. §1132(h).

                                     PARTIES

      5.     Plaintiffs, Trustees of the Refrigeration, Air Conditioning & Service

Division (UA-NJ) Pension Fund, Welfare Fund, Annuity Fund and Education Fund

(“Funds”), are trust funds established and maintained pursuant to Section 302(c)(5)

of the LMRA, 29 U.S.C. §186(c)(5) and are employee benefit plans established

and maintained pursuant to Section 3(1)(2) and (3) of ERISA, 29 U.S.C. §1002(1),

(2) and (3), for the purpose of providing health benefits and other benefits to


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eligible participants. The Funds are also multiemployer plans within the meaning

of Sections 3(37) and 515 of ERISA, 29 U.S.C. §1002(37) and §1145.

      6.       The Funds qualify to commence this action, and are further authorized

to sue in their own names, pursuant to Section 502(d)(1) of ERISA, 29 U.S.C.

§1132(d)(1).

      7.       The Trustees are “fiduciaries” of the Funds within the meaning of

Section 3(21) of ERISA, 29 U.S.C. §1002(21)(A) with respect to the collection of

contributions due to the Funds.

      8.       The Funds maintain their principal place of business at 830 Bear Tavern

Road, 2nd Floor, West Trenton, NJ 08628.

      9.       The Funds bring this action on behalf of their Trustees, committee

members, participants and beneficiaries pursuant to Section 502 of ERISA, 29

U.S.C. §1132, and Section 301 of LMRA, 29 U.S.C. §185.

      10.      Defendant, Marlee Contractors, LLC is referred to as “Defendant” or

“employer” or “party in interest” as defined in Sections 3(5) and 3(14) of ERISA, 29

U.S.C. §1002(5) and (14) respectively, and was and is an employer in an industry

affecting commerce within the meaning of Section 301 of LMRA, 29 U.S.C. §185.

      11.      Upon information and belief, Marlee Contractors, LLC’s principal

place of business is located at 364 S. Egg Harbor Road, Hammonton, NJ 08037.


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       12.    Upon information and belief, Marlee Contractors, LLC conducts or has

conducted business in the State of New Jersey.

                                     COUNT ONE

       13.    The Funds incorporate the allegations in Paragraphs 1 through 12 of this

Complaint as if set forth herein in their entirety.

       14.    At all times relevant hereto, Marlee Contractors, LLC was a party to or

agreed to abide by the terms and conditions of an Inside Agreement with one or more

local labor unions or district councils affiliated with the Refrigeration, Air

Conditioning & Service Division (UA-NJ) Pension Fund, Welfare Fund, Annuity

Fund and Education Fund and the New Jersey Committee Representing the United

Association of Plumbers and Pipefitters of the United States and Canada

(“Union”).

       15.    At all times relevant hereto, Marlee Contractors, LLC agreed to abide

by the terms of the Agreements and Declarations of Trust (“Trust Agreements”)

which govern the Funds, as well as the Policy for Collection of Fringe Benefit

Contributions (“Policy”). The Trust Agreements and the Policy set forth the rules

and regulations with respect to participation in, and administration of, the Funds.

       16.    The Inside Agreement to which Defendant Marlee Contractors, LLC is

bound requires that the company post a surety bond with the Funds as obligees or a


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cash deposit of $44,000.00 to secure Defendant’s obligation to make payments to the

Funds.

      17.    The Funds’ Trust Agreement contains provisions which require

Defendant Marlee Contractor, LLC to provide the Funds with a form of surety bond

or other type of security guaranteeing their obligations to make payments to Plaintiff

Funds for welfare, pension and other benefits for the employees of the Defendant.

The terms and conditions of the surety bond, security or other form of guaranty must

be satisfactory to the Trustees or their designee(s).

      18.    In accordance with the Trust Agreement, Plaintiffs, on several

occasions prior to the commencement of this cause of action, demanded that

Defendant post a surety bond, cash bond or equivalent and that said surety bond be

provided with Plaintiffs as obligees to protect the interest of Plaintiffs’ participants

and beneficiaries.

      19.    Plaintiff Funds gave Defendant written notices of their demand that

Defendant is in breach of the surety bond requirement by failing to post a surety

bond, cash bond or equivalent in a sum as required by the Trust Agreement.

      20.    Defendant has failed and refused to comply with the Funds’ demand

despite being obligated to do so pursuant to the terms and conditions of the

Agreement between the Union and Defendant and therefore breached the Agreement.

      21.    The Funds are third-party beneficiaries of the Inside Agreement
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between the Union and Defendant.

       22.    Plaintiff Funds will suffer irreparable injury and harm from Defendant’s

breach of the Inside Agreement as set forth above in that the Funds’ ability to ensure

collection of required employer contributions to the Funds is jeopardized by

Defendant’s failure to post the required surety bond, cash bond or equivalent with

Plaintiffs as obligees.

       23.    Plaintiff Funds will suffer irreparable injury and harm from Defendant’s

breach of the Inside Agreement as set forth above in that the Funds’ ability to

purchase and provide benefits to its participants and beneficiaries will be jeopardized

if the Funds cannot secure payment of Defendant’s obligations which will result from

Defendant’s failure to post the required surety bond, cash bond or equivalent with

Plaintiffs as obligees.

       24.    The Funds will suffer irreparable injury and harm from Defendant’s

breach of the Inside Agreement as set forth above in that the Funds will lose

investment opportunities which would benefit the Funds’ participants and

beneficiaries as a result of Defendant’s failure and refusal to post the required surety

bond, cash bond or equivalent with Plaintiffs as obligees thereby depriving the Funds

from securing payments that Defendant is obligated to make to the Funds.

       25.    The relief sought by the Funds against Defendant will not harm

Defendant to a greater extent than that which the Funds will suffer if the relief sought
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by them is not granted as the Funds seek to enforce their rights under a clear and

unambiguous contract provision.

      26.    The public interest is best served by granting the Funds the relief sought

against Defendant.

      27.    The Funds are without adequate remedy at law and therefore are entitled

to equitable relief against Defendant.

      WHEREFORE, the Funds respectfully request the following relief:

             (A)     For a preliminary injunction enjoining Defendant Marlee

Contractors, LLC from violating the terms of the Inside Agreement as to the Funds

and ordering Defendant to post a surety bond, cash bond or equivalent in a

principal sum of $44,000.00 with Plaintiffs as obligees;

             (B)     Order Defendant Marlee Contractors, LLC to specifically

perform all obligations to the Funds under the Inside Agreement;

             (C)     Order Defendant Marlee Contractors, LLC to pay the Funds’

reasonable attorneys’ fees incurred in the prosecution of this action as provided by

29 U.S.C. §1132(g); and

             (D)     Order any such other and further relief as this Court may deem

equitable, just and appropriate.




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                            Respectfully submitted,

                            O'BRIEN, BELLAND & BUSHINSKY, LLC

                            Attorneys for Plaintiffs


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Dated: March 23, 2020




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